                                                                                                                 Case
                                                                                                                  Case2:17-cv-03129-JAD-EJY
                                                                                                                       2:17-cv-03129-JAD-EJY Document
                                                                                                                                              Document55-1
                                                                                                                                                       58 Filed
                                                                                                                                                           Filed07/07/20
                                                                                                                                                                 06/05/20 Page
                                                                                                                                                                           Page12ofof34



                                                                                                            1   NADINE M. MORTON, ESQ.
                                                                                                                Nevada Bar No. 8583
                                                                                                            2
                                                                                                                MORTON LAW, PLLC
                                                                                                            3   11700 West Charleston Boulevard
                                                                                                                Suite 170-65
                                                                                                            4   Las Vegas, NV 89135
                                                                                                                (702) 718-3000 Telephone
                                                                                                            5
                                                                                                                (702) 435-9828 Facsimile
                                                                                                            6   nadine@mortonlawnv.com

                                                                                                            7   A. J. SHARP, ESQ.
                                                                                                                Nevada Bar No. 11457
                                                                                                            8
                                                                                                                SHARP LAW CENTER
                                                                                                            9   11700 West Charleston Boulevard
                                                                                                                Suite 234
                                                                                                           10   Las Vegas, NV 89135
                                                                                                                (702) 250-9111 Telephone
                                                           702.718.3000 Telephone 702.435.9828 Facsimile
                   11700 West Charleston Blvd., Suite 170-65




                                                                                                           11
                                                                                                                ajsharp@sharplawcenter.com
                                                                                                           12
                                                                                                                Attorneys for Plaintiff
                           Las Vegas, NV 89135
MORTON LAW, PLLC




                                                                                                           13
                                                                                                                                             UNITED STATES DISTRICT COURT
                                                                                                           14

                                                                                                           15                                       DISTRICT OF NEVADA

                                                                                                           16    In the matter of the compromise of the claim )    Case No.: 2:17-cv-03129-JAD-ELY
                                                                                                                 of                           ,               )
                                                                                                           17
                                                                                                                                                              )
                                                                                                           18                                Minor.           )
                                                                                                                                                              )               ECF No. 55
                                                                                                           19                                                 )
                                                                                                                                                              )
                                                                                                           20
                                                                                                                                                              )
                                                                                                           21                                                 )
                                                                                                                                                              )
                                                                                                           22

                                                                                                           23                 ORDER APPROVING COMPROMISE OF MINOR’S CLAIM
                                                                                                           24          Upon reading the verified Petition of                             pursuant to NRS Section
                                                                                                           25   41.200, on file herein, for an Order approving the Compromise of Minor’s Claim, and it appearing
                                                                                                           26   to the Court that the compromise is reasonable and in the best interest of said minor child,
                                                                                                           27

                                                                                                           28




                                                                                                                                                                -1-
                                                                                                                 Case
                                                                                                                  Case2:17-cv-03129-JAD-EJY
                                                                                                                       2:17-cv-03129-JAD-EJY Document
                                                                                                                                              Document55-1
                                                                                                                                                       58 Filed
                                                                                                                                                           Filed07/07/20
                                                                                                                                                                 06/05/20 Page
                                                                                                                                                                           Page23ofof34



                                                                                                            1
                                                                                                                        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that said compromise be
                                                                                                            2
                                                                                                                approved and that Petitioner KAMBRA COOPER is authorized to accept, on behalf of the minor
                                                                                                            3
                                                                                                                child                               , the sum of TWO THOUSAND DOLLARS ($2,000), which
                                                                                                            4
                                                                                                                represents                                 settlement payment from SHOEI CO., LTD. (“SHOEI”)
                                                                                                            5
                                                                                                                for his wrongful death claim.
                                                                                                            6
                                                                                                                        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that no general guardian
                                                                                                            7
                                                                                                                needs to be appointed for said minor child and that no bond be required of KAMBRA COOPER
                                                                                                            8
                                                                                                                in connection with the expenditures of said settlement for the use and benefit of said minor child.
                                                                                                            9
                                                                                                                        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that KAMBRA COOPER
                                                                                                           10
                                                                                                                be and is hereby authorized and directed to execute a Release Of All Claims as to SHOEI on
                                                           702.718.3000 Telephone 702.435.9828 Facsimile
                   11700 West Charleston Blvd., Suite 170-65




                                                                                                           11
                                                                                                                behalf of                              .
                                                                                                           12
                                                                                                                        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Petitioner, upon
                           Las Vegas, NV 89135
MORTON LAW, PLLC




                                                                                                           13
                                                                                                                receiving the sum of TWO THOUSAND DOLLARS ($2,000.00) which represents the total
                                                                                                           14
                                                                                                                compromise of                                    claim, shall deposit that money in its entirety in a
                                                                                                           15
                                                                                                                blocked financial investment—a Certificate of Deposit, in compliance with NRS Section
                                                                                                           16
                                                                                                                41.200(8)—with Mountain America Credit Union, 801 West Highway 40, Vernal, Utah, 84078,
                                                                                                           17
                                                                                                                a financial institution in the State of Utah that is insured by the National Credit Union Insurance
                                                                                                           18   Fund.
                                                                                                           19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the funds deposited
                                                                                                           20   in a blocked financial investment shall not be liquidated or diminished, without court approval
                                                                                                           21   upon showing that the withdrawal is in the best interest of the minor child, prior to
                                                                                                           22                       reaching the age of eighteen (18) years (i.e., September 10, 2032).
                                                                                                           23           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that
                                                                                                           24               , may obtain control of or money f
                                                                                                           25           (a)      By an order of this Court; or
                                                                                                           26           (b)      By certification of this Court that                             has reached the age
                                                                                                           27   of 18 years, at which time control of the investment must be transferred to
                                                                                                           28




                                                                                                                                                                  -2-
                                                                                                                 Case
                                                                                                                  Case2:17-cv-03129-JAD-EJY
                                                                                                                       2:17-cv-03129-JAD-EJY Document
                                                                                                                                              Document55-1
                                                                                                                                                       58 Filed
                                                                                                                                                           Filed07/07/20
                                                                                                                                                                 06/05/20 Page
                                                                                                                                                                           Page34ofof34



                                                                                                            1
                                                                                                                              or the investment must be closed and the money distributed to
                                                                                                            2
                                                                                                                          .
                                                                                                            3
                                                                                                                       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that authority to establish
                                                                                                            4
                                                                                                                a blocked financial investment—a Certificate of Deposit—for the benefit of
                                                                                                            5
                                                                                                                           is hereby given to the Petitioner.
                                                                                                            6
                                                                                                                        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that a status check Hearing
                                                                                                            7                                 September 8, 2020             3:00
                                                                                                                before this court is set for _________________________, at ____ am/pm, to show compliance
                                                                                                            8
                                                                                                                with this Order. In the event that proof of compliance with this Order is filed with this Court prior
                                                                                                            9
                                                                                                                to the date and time set for the status check Hearing, neither Petitioner nor her counsel shall be
                                                                                                           10
                                                                                                                required to attend the status check Hearing.
                                                           702.718.3000 Telephone 702.435.9828 Facsimile
                   11700 West Charleston Blvd., Suite 170-65




                                                                                                           11
                                                                                                                         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Petitioner shall
                                                                                                           12
                                                                                                                                                      _________________________________
                                                                                                                file periodic verified reports as thisU.S.
                                                                                                                                                       Court  deemsJudge
                                                                                                                                                           District  appropriate.
                                                                                                                                                                          Jennifer This Court may hold a Hearing on
                                                                                                                                                                                   A. Dorsey
                           Las Vegas, NV 89135
MORTON LAW, PLLC




                                                                                                           13                                         Dated:
                                                                                                                a verified report if it deems a Hearing      July 7, 2020
                                                                                                                                                          necessary  to receive an explanation of the activities of the
                                                                                                           14
                                                                                                                investment pursuant to NRS Section 41.200(5).
                                                                                                           15
                                                                                                                       DATED this               day of                          2020.
                                                                                                           16

                                                                                                           17                                                ________________________________________
                                                                                                                                                                DISTRICT JUDGE JENNIFER A. DORSEY
                                                                                                           18
                                                                                                                Dated this 5th day of June, 2020.
                                                                                                           19
                                                                                                                MORTON LAW, PLLC
                                                                                                           20   /s/ Nadine M. Morton

                                                                                                           21   NADINE M. MORTON, ESQ.
                                                                                                                Nevada Bar No. 8583
                                                                                                           22   11700 West Charleston Boulevard
                                                                                                                Suite 170-65
                                                                                                           23
                                                                                                                Las Vegas, NV 89135
                                                                                                           24
                                                                                                                A. J. SHARP, ESQ.
                                                                                                           25   Nevada Bar No. 11457
                                                                                                                SHARP LAW CENTER
                                                                                                           26
                                                                                                                11700 West Charleston Boulevard
                                                                                                           27   Suite 234
                                                                                                                Las Vegas, NV 89135
                                                                                                           28
                                                                                                                Attorneys for Plaintiff


                                                                                                                                                                  -3-
